Case 5:14-cv-11677-JCO-MJH ECF No. 39, PageID.165 Filed 04/02/15 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


PATRICIA ROUSSETY
Individually and on behalf of others similarly situated,

       Plaintiff,

-vs-                                           Case No. 14-11677
                                               Hon. John Corbett O'Meara


NATIONAL CREDITORS CONNECTIONS, INC. ,
GREEN TREE SERVICING, LLC,

     Defendant.
__________________________________________/

 JUDGMENT AGAINST NATIONAL CREDITORS CONNECTION, INC.
              FOLLOWING RULE 68 OFFER

       Pursuant to National Creditors Connection, Inc.’s (“NCCI”) Rule 68 Offer of

Judgment, the Court hereby enters judgment in favor of Patty Roussety against NCCI

in the amount of $20,000 along with reasonable costs and attorney fees incurred by

Plaintiff in connection with this action. Said costs and fees are to be in amount agreed

upon by counsel for the parties, or if they are unable to agree, as determined by

motion within 30 days of entry of this judgment.

       This Judgment resolves all Plaintiff’s claims against NCCI, with the exception

of resolution of costs and attorney fees referenced above. Ms. Roussety’s acceptance
Case 5:14-cv-11677-JCO-MJH ECF No. 39, PageID.166 Filed 04/02/15 Page 2 of 2




of NCCI’s Rule 68 offer in no way settles her claims against Green Tree Servicing,

LLC, or prejudices her in any way from pursuing her claims against Green Tree.


      SO ORDERED.

Date: April 2, 2015                         s/John Corbett O’Meara
                                            United States District Judge


Stipulated To By:


s/ Julie A. Petrik                       s/ by consent Randall J. Groendyk
Julie A. Petrik (P47131)                 Randall J. Groendyk
Attorney For Plaintiff                   Attorney for NCCI
Lyngklip & Associates Consumer Law       Varnum LLC
Center, PLC                              Bridgewater Place
Southfield, MI 48075                     PO Box 352
 (248) 208-8864                          Grand Rapids, MI 49501
Julie@MichiganConsumerLaw.Com            (616)336-6573
                                         rgroendyk@varnumlaw.com
